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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 MYUNG JOON KIM,                                        Case No.:

                       Plaintiff,
                                                                     CIVIL ACTION
        -against-

 DKCOSMETICS; DKCOS CORP.; JONG KYUN
 (“JOHN”) LEE and JOHN DOES 1-10 (said names
 being fictitious); and JOHN ROE CORPS. 1-10 (said                    COMPLAINT
 names being fictitious),

                       Defendants.


       Plaintiff, MYUNG JOON KIM (“Plaintiff”), by and through his attorneys, Kim, Cho & Lim,

LLC, upon their personal knowledge, and upon information and belief as to other matters, aver

against Defendants, DKCOSMETICS; DKCOS CORP.; CLUB CLIO CORP.; CLUB CLIO NYC

CORP.; JONG KYUN (“JOHN”) KIM; JOHN DOES 1-10 (said names being fictitious); and JOHN

ROE CORPS. 1-10 (said names being fictitious) (collectively, “Defendants”), as follows:

                                    NATURE OF THE ACTION

       1.      Plaintiff brings this lawsuit as a non-exempt employee seeking recovery of unpaid

overtime premium and liquidated damages therefor under the Fair Labor Standards Act (“FLSA”),

the New Jersey Wage and Hour Law (“NJWHL”) and their supporting rules and regulations.

       2.      Plaintiff brings this lawsuit as an individual as well as a representative of putative

FLSA Collective Class (as defined herein), and Rule 23 Class (as defined herein) (collectively,
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“Class”), of which members are similarly situated as Plaintiff was under employment with

Defendants.

                                             PARTIES

       3.      Defendant DKCOSMETICS is a domestic corporation organized and existing under

the laws of the State of New York.

       4.      Defendant DKCOSMETICS maintains a principal place of business at 18 W 33rd

Street, 4th Floor, New York, NY 10001.

       5.      Defendant DKCOSMETICS also maintains a warehouse facility at 734 Grand

Avenue, Unit A, Ridgefield, NJ 07657.

       6.      Defendant DKCOS Corp. maintains a principal place of business also at 18 W 33rd

Street, 4th Floor, New York, NY 10001.

       7.      Defendant Jong Kyun Lee (“JK Lee”) is the chief executive officer, president,

principal, shareholder, officer, director, or otherwise authorized representative of all corporate

Defendants.

       8.      Defendants John Does 1-10 are, upon information and belief, individuals or sole

proprietorship whose identities are unknown to Plaintiff at the filing of this Complaint, but who

may be liable to Plaintiff, under the FLSA or NJWHL.

       9.      Defendants John Roe Corps 1-10 are, upon information and belief, businesses,

companies, corporations, limited liability companies or partnerships, traditional partnerships, or

other judicial, legal, or de facto entities whose identities are unknown to Plaintiff at the filing of

this Complaint, but who may be liable to Plaintiff under the FLSA or NJWHL.

       10.     Plaintiff Myung Joon Kim is an individual residing at 43-55 163th Street, Flushing,

NY 11358.
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                                    JURISDICTION AND VENUE

          11.   This Court has subject matter jurisdiction over Plaintiff’s claims under the FLSA

pursuant to 28 U.S.C. §§ 1331 (federal question) and 1337.

          12.   This Court has supplemental jurisdiction over Plaintiff’s claims under the NYLL

and NJWHL pursuant to 28 U.S.C. § 1367 (supplemental jurisdiction).

          13.   The venue is proper in the District Court of New Jersey pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the claims alleged

herein occurred in this district.

                        DEFENDANTS WERE PLAINTIFF’S EMPLOYERS

          14.   Defendants, DKCOSMETICS and DKCOS CORP. (collectively, “Corporate

Defendants”), are legal entities jointly doing business as “Club Clio” within and without the United

States, including South Korea (under Korean corporation, Clio, Inc.) or affiliates and/or

subsidiaries thereof.

          15.   During Plaintiff’s employment with Defendants, Defendants had gross annual

revenue of $500,000 or greater.

          16.   During Plaintiff’s employment with Defendants, Defendants were engaged in the

commerce of in the production of goods for commerce within the meaning of FLSA, 29 U.S.C. §

203(s).

          17.   Defendants were Plaintiff’s and the Class (as defined below)’s employers within

the meaning of the FLSA, 29 U.S.C. § 203(d).

          18.   Defendants were Plaintiff’s and the Class’s employers within the meaning of NYLL,

N.Y. Lab. Law §§ 651(6).

          19.   Defendants were Plaintiff’s and the Class’s employers within the meaning of

NJWHL, N.J.A.C. § 12:56-2.1.
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         20.   All Corporate Defendants were under common ownership and constituted a joint

enterprise. As such, each of the Corporate Defendants and its principal, JK Lee, were joint

employers of each Plaintiff, who employed and caused Plaintiff to suffer to work for Defendants

in the State of New Jersey.

                                  CORPORATE DEFENDANTS

         21.   Corporate Defendants had the power to hire and fire Plaintiff and each member of

the Class.

         22.   Corporate Defendants had the power to set wages of Plaintiff and each member of

the Class.

         23.   Corporate Defendants had the power to control the work schedules and/or other

conditions of employment of Plaintiff and each member of the Class.

         24.   Corporate Defendants knew or should have known the applicable laws and

regulations regarding the payment of overtime premium, the spread of hours premium, and the

notice requirements.

         25.   Notwithstanding, Corporate Defendants willfully acted in violation of the

requirements of the laws and regulations regarding the payment of overtime premium, the spread

of hours premium, and the notice requirements.

         26.   Corporate Defendants share the same ownership, same management, and same

employment policies; they have common ownership and are thus deemed joint enterprises.

                              DEFENDANT JONG KYUN (“JOHN”) LEE

         27.   Defendant JK Lee is the chief executive officer, president, principal, shareholder,

officer, director, or otherwise authorized representative of all Corporate Defendants.

         28.   Defendant JK Lee had the power to hire and fire Plaintiff and each member of the

Class.
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         29.    Defendant JK Lee had the power to set wages of Plaintiff and each member of the

Class.

         30.    Defendant JK Lee had the power to control the work schedules and/or other

conditions of employment of Plaintiff and each member of the Class.

         31.    Defendant JK Lee had the power to control other individuals employed by

Corporate Defendants as managers, including Hwa Young Lee and Jieun Lee, who were managers

employed by the Corporate Defendants during the relevant time period, who in turn executed the

orders received from JK Lee, including by hiring, hiring, setting the wages of, setting the work

schedules of, and/or otherwise controlling the conditions of employment of Plaintiff and the

members of the Class.

         32.    Defendant JK Lee controlled the method of payments made to Plaintiff.

         33.    Defendant JK Lee held the power to sign company checks of each Corporate

Defendant.

         34.    Defendant JK Lee knew or should have known the applicable laws and regulations

regarding the payment of overtime premium, the spread of hours premium, and the notice

requirements.

         35.    Notwithstanding, Defendant JK Lee willfully acted in violation of the requirements

of the laws and regulations regarding the payment of overtime premium, the spread of hours

premium, and the notice requirements.

                THE CONDITIONS OF PLAINTIFF MJ KIM’S EMPLOYMENT

         36.    Plaintiff was hired by Defendants in or about March 2018, and was employed until

the end of August 2018.

         37.    Beginning in March through the end of August 2018, Plaintiff was employed by

Defendants in the State of New Jersey at 734 Grand Avenue, Ridgefield, NJ 07657.
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        38.     During his employment with Defendants, Plaintiff received a salary of $2,500 per

month, or $575.37 per week [($2,500/month) ÷ (4.345 weeks/month) = $575.37/week].


        39.     During his employment with Defendants, Plaintiff was scheduled to work from 9

AM through 5:30 PM, with a 30-minute lunch break, from Monday through Friday.

        40.     During the entire period of Plaintiff’s employment with Defendants, Plaintiff and

Defendants agreed that his salary was to compensate Plaintiff for his scheduled work hours,

totaling forty (40) hours of work per week.

        41.     Throughout Plaintiff’s employment with Defendants, Plaintiff was actually

required to work from 9:00 AM through approximately 11:00 PM and was often required to work

until as late as 2:00 AM.

        42.     On average, throughout Plaintiff’s employment with Defendants, Plaintiff was

required to work approximately sixty-eight (68) or more hours per week.

        43.     During Plaintiff’s employment with Defendants, Plaintiff never received any

premium for overtime hours for his work hours in excess of forty (40) per week.

               FLSA, 29 U.S.C. § 216(b) COLLECTIVE ACTION ALLEGATIONS

        44.     Plaintiff brings his claims for relief as a collective action pursuant to the FLSA, 29

U.S.C. § 216(b), on behalf of all non-exempt salaried employees of Defendants who were caused

by Defendants to suffer to work at Defendants’ businesses or other corporate offices maintained

by Defendants for the operation of its business in the United States, on or after the date that is three

years before the filing of this Complaint (“FLSA Collective Class”).

        45.     At all relevant times, Defendants’ employment practices, specifically those relating

to the non-payment of overtime premium, to which Plaintiff was subject, was a corporation-wide

practice to which the FLSA Collective Class was also subject.
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       46.     At all relevant times, Plaintiff and the FLSA Collective Class were scheduled to

work a predetermined number of hours, generally eight (8) hours per day for five (5) days per

week, but were in fact directed to or otherwise required to work in excess of forty (40) hours in a

given week.

       47.     At all relevant times, Plaintiff and the FLSA Collective class were and have been

similarly situated, are and have been subject to substantially similar practice in payment of wages,

and are and have been subjected to Defendants’ decisions, policies, plans, programs, practices,

procedures, protocols, routines, and rules, all culminating in a willful failure and refusal to pay

them overtime premium for hours worked in excess of forty (40) hours in a given workweek.

       48.     Plaintiff and the FLSA Collective Class were together the victims of a single

corporate decision or policy to willfully fail to pay any overtime premium to their salaried

employees.

       49.     The members of the FLSA Collective Class – non-exempt individuals employed by

Defendants on a salary basis – were subject to Defendants’ practice of withholding payment for

overtime premium.

       50.     The members of the FLSA Collective Class were similarly situated as was Plaintiff.

       51.     The claims of Plaintiff stated herein are essentially identical to those of other FLSA

Collective Class.

   FEDERAL RULES OF CIVIL PROCEDURE RULE 23 CLASS ACTION ALLEGATIONS

       52.     Plaintiff brings claims for relief pursuant to the Federal Rules of Civil Procedure

Rule 23 on behalf of all non-exempt salaried employees of Defendants who were caused by

Defendants to suffer to work at Defendants’ business locations, warehouses, or other corporate

offices maintained by Defendants for the operation of its business in the United States, on or after

the date that is three years before the filing of this Complaint (“Rule 23 Class”).
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       53.     The number, identity, and last known contact information of the members of the

Rule 23 Class are readily ascertainable and determinable from the records of Defendants.

       54.     The hours assigned to, the hours actually worked by, the position or title held by,

the basis for payment to, and the rates of pay to each member of the Rules 23 Class are also

determinable from Defendants’ records.

       55.     There are numerous members of the Rule 23 Class, that joinder of all members is

impracticable, and the disposition of their claims as a class action is in favor of judicial efficiency

than to litigate each individual case separately. The number of the members of the Rule 23 Class

unascertainable to Plaintiff at this time but are estimated to be about a hundred. The adjudication

of individual claims would result in a great expenditure of the judicial and public resources.

       56.     Plaintiff’s claims for non-payment of overtime premium brought against

Defendants herein are typical of those claims which could be alleged by any member of the Rule

23 Class.

       57.     The remedies sought by Plaintiff against Defendants herein are typical of those

claims which could be sought by any member of the Rule 23 Class.

       58.     The defenses which Defendants may assert against Plaintiff are typical of those

which Defendants may assert against any member of the Rule 23 Class.

       59.     All members of the Rule 23 Class were subject to the same corporate practices of

Defendants, as alleged herein, of failing to pay overtime premium. The uniform corporate practice

permeating throughout Defendants’ business applied to Plaintiff and all members of the Rule 23

Class and as such, there are common questions of law and facts relating to Plaintiff’s and the Rule

23 Class’s claims for non-payment of overtime premium predominate over any questions affecting

only individual members.
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        60.     The common question of law and facts include whether Defendants are employers

or joint employers of Plaintiff and the Rule 23 Class; whether there were corporate policies relating

to the calculation and payment of overtime wages; whether Plaintiff and the Rule 23 Class were

exempt or non-exempt from overtime compensation; and whether Defendants acted willfully with

respect to their violation of the FLSA and the NJLL.

        61.     Plaintiff is able to fairly and adequately protect the interests of the Rule 23 Class

and have no interests antagonistic to the Rule 23 Class. Plaintiff is represented by attorneys who

are experienced and competent in the field of employment law and therefore are capable of

providing adequate representation of all the members of the Class.

        62.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy, specifically in the context of the wage and hour litigation, where

individual employees lack the financial resources to vigorously prosecute a lawsuit and/or are in

fear of retaliation by a large multi-national employer with respect to their current and/or future

employment. A class action provides a degree of anonymity which allows for the vindication of

the rights and significantly reduces these risks of retaliation or other adverse action by the

employer.

        63.     The prosecution of separate actions by the numerous of members of the Rule 23

Class would create a risk of inconsistent or varying adjudications with respect to the individual

members of the Rule 23 Class which would establish incompatible standards of conduct for the

party in opposing the class or, in the alternative, create a risk of adjudications with respect to

individual members of the Rule 23 Class which would, as a practical matter, be dispositive of the

interests of the other members not parties to the adjudications or substantially impair or impede

their ability to protect their interest.
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        64.     This Court can, and is empowered to, fashion methods to efficiently manage this

action as a class action.

                                  FIRST CAUSE OF ACTION
                              FLSA: UNPAID OVERTIME PREMIUM

        65.     Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.

        66.     At all relevant times, Defendants maintained a gross annual revenue of $500,000.

        67.     At all relevant times, Defendants were engaged in commerce or the production or

sale of goods for commerce, within the meaning of 29 U.S.C. §§ 201, et seq.

        68.     At all relevant times, Defendants were joint employers of Plaintiff and the Class as

defined under 29 U.S.C. §§ 201, et seq.

        69.     At all relevant times, Plaintiff and the Class were employees of Defendants as

defined under 29 U.S.C. §§ 201, et seq.

        70.     During Plaintiff’s and the Class’s employment with Defendants, Defendants failed

to pay Plaintiff and the Class the required overtime premium at a rate not less than one and one-

half (1 1/2) times the regular rate or the applicable minimum wage as required under 29. U.S.C. §

207(a)(1).

        71.     Defendants’ failure to pay Plaintiff and the Class the applicable overtime premium

was willful within the meaning of 29 U.S.C. § 255(a).

        72.     As a result of Defendants’ failure to pay, Plaintiff and the Class suffered damages

in an amount to be determined at trial.

                                 SIXTH CAUSE OF ACTION
                             NJWHL: UNPAID OVERTIME PREMIUM
        73.     Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.
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       74.      At all relevant times, Defendants were Plaintiff’s and the Class’s joint employers

within the meaning of the NJWHL, N.J.S.A. § 34:11-56a1 and N.J.A.C. § 12:46-2.1.

       75.      At all relevant times, Plaintiff and the Class were Defendants’ employees within

the meaning of the NJWHL, N.J.S.A. § 34:11-56a1 and N.J.A.C. § 12:46-2.1.

       76.      During Plaintiff’s employment with Defendants, Defendants failed to pay Plaintiff

and the Class the applicable overtime premium at the rate of one and one half (1.5) times the

regular rate as required under N.J.A.C. 12:56-6.1.

       77.      Defendants’ failure to pay Plaintiff and the Class the applicable overtime premium

was willful and without a good faith basis to believe that Defendants were in compliance with the

law.

       78.      As a result of Defendants’ failure to pay, Plaintiff and the Class suffered damages

in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all other similarly situated persons

including the members of the Class, respectfully request that this Court grant the following relief:

       a. Declaration that Defendants’ practices complained herein were unlawful practices;

       b. Declaration that each and every Defendant are individually, jointly, and severally liable

             for each of their violations of Fair Labor Standards Act, the New Jersey Wage and Hour

             Law, and regulations promulgated under these statutes;

       c. Declaration that Defendants’ violations of the Fair Labor Standards Act were willful

             within the meaning of 29 U.S.C. § 255(a);

       d. Declaration that Defendants are liable to Plaintiff and the members of the Class for

             unpaid overtime premium pursuant to the Fair Labor Standards Act and its supporting

             regulations;
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       e. Declaration that Defendants are liable to Plaintiff and the members of the Class for

          liquidated damages in an amount equal to one hundred percent (100%) of the total

          underpayment found to be due under the FLSA and NJWHL and their supporting

          regulations, including unpaid overtime premium and unpaid spread of hours premium;

       f. Declaration that Plaintiff and the members of the Class are entitled to collect reasonable

          attorney’s fees and costs incurred in this litigation from Defendants;

       g. Declaration that Plaintiff and the members of the Class are entitled to collect

          prejudgment interest; and

       h. Such other statutory and equitable relief as this Court shall deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury as to all issues so triable.

Dated: Palisades Park, New Jersey                             Respectfully submitted,
       September 30, 2019
                                                         By: _/s/ Seokchan Kwak_______
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